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                              EXHIBIT F
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                       CASE NO. 18-20710-CR-ALTONAGA/GOODMAN




   UNITED STATES OF AMERICA,

          Plaintiff,
   v.

   SENTHIL RAMAMURTHY, et al.,

         Defendants.
   ________________________________/

           OMNIBUS ORDER ON GOVERNMENT’S MOTIONS TO COMPEL

          United States District Judge Cecilia M. Altonaga referred [ECF No. 232] to the

   Undersigned the United States’ Motion to Compel Disclosure Of, and Discovery

   Regarding, Any Advice of Counsel Defense [ECF No. 230] and its Motion to Compel

   Defense Discovery Or, In The Alternative, to Exclude Evidence [ECF No. 231]. The

   Undersigned then issued a briefing scheduling Order for these two motions, permitting

   the defendants to submit an omnibus response to both motions in a single

   memorandum and permitting them to join in on responses (upon the timely filing of a

   notice of joinder). [ECF No. 233].

          Counsel for Defendant John Scholtes submitted a consolidated response from

   “Defendants.” [ECF No. 239]. This opposition memorandum lists four defendants --
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   Anthony Mauzy, Thomas Sahs, Rajesh Mahbubani and John Scholtes -- in the title of the

   opposition memorandum. Among other arguments, the opposition memorandum

   contends that the Court already ruled on the substance of the discovery motions when

   it directed Defendants, at a June 6, 2019 Status Conference, to submit their trial lists and

   exhibits by December 13, 2019. But the opposition memorandum’s conclusion states

   only that “Defendant Scholtes will provide exhibit and witness lists and related

   discovery to the government no later than December 13, 2019 – more than five weeks

   before trial.” [ECF No. 239, p. 5 (emphasis added)].

          Although this opposition memorandum does not make any representations

   about the intended discovery production plans of the other three defendants, the

   Undersigned is construing the memorandum, which was ostensibly filed on behalf of

   four defendants, to implicitly acknowledge a similar intent and commitment by the

   other three defendants.

          In any event, the United States filed a reply [ECF No. 252] and the motions are

   now ripe for a ruling.

          At bottom, the United States contends that some or all of the Defendants will, at

   trial, offer broad arguments and evidence that attorneys “were involved” in their

   alleged unlawful conduct. More specifically, the United States’ reply memorandum

   represents that “now there is absolutely no doubt that some or all of the remaining


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   defendants will try to present some kind of advice of counsel defense.” [ECF No. 252, p.

   1]. In addition, the United States advises that counsel for Scholtes “made similar

   insinuations” about an intent to rely on the advice of counsel defense and also advised

   the Court of “his intent to present a lengthy defense case.” Id.

          Defendants do not, in their opposition memorandum, deny an intent to rely

   upon an advice of counsel defense. Instead, they argue that early disclosure of

   discovery concerning the defense is premature and unfairly prejudicial. Concerning the

   reciprocal discovery demand, the opposition memorandum notes that the United States

   received almost 85,000 pages of discovery from Defendants before the filing of the

   superseding indictment, including “numerous communications with attorneys.” [ECF

   No. 239, p. 2].

          Courts have broad discretion to impose disclosure and notice requirements

   outside of the specific requirements of the Federal Rules of Criminal Procedure. United

   States v. Crowder, 325 F. Supp. 3d 131, 138 (D.D.C. 2018); cf. Memory Bowl v. N. Pointe Ins.

   Co., 280 F.R.D. 81, 186 (D.N.J. 2012) (requiring defendant to advise on his intent to rely

   on an advice of counsel defense before trial in order to avoid unnecessary delay or

   expense).

          Indeed, this very Court (i.e., Judge Altonaga) recently entered an order granting

   in part a similar government motion and requiring the Defendant to make certain


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   disclosures about the defense. In that case, Judge Altonaga’s Order provided a

   consequence for non-compliance: “If Defendant fails to comply, he will be barred from

   raising the defense before the jury.” United States v. Shapiro, U.S. District Court for the

   Southern District of Florida, Case No. 19-CR-20178, ECF No. 108, p. 3, July 8, 2019.

          Judge Altonaga’s July 8, 2019 Order in Shapiro imposed two requirements on the

   defendant and established a deadline of almost a month before the trial (which was at

   that time scheduled for August 5, 2019).

          The Undersigned acknowledges and understands the Defendants’ concerns

   about premature discovery and tipping their strategic hand. On the other hand, the trial

   would be unduly delayed if Defendants did not make substantively significant

   disclosures about their advice of counsel defenses until after the United States rested in

   its case in chief.

          Therefore, in an effort to provide a balanced approach, the Undersigned grants

   the United States’ motion, in part, and will require Defendants to make the following

   disclosures by January 6, 2020, slightly more than two weeks before the scheduled trial

   start date of January 22, 2020 [ECF No. 174]:




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          (1) identify to the Government any attorneys who were purportedly consulted
              and provided advice of any nature related to the subject of the good faith
              advice of counsel defense; and

          (2) waive privilege over, and produce to the Government, all communications 1
              they had with those attorneys related to the same subject.

         In addition, similar to this Court’s ruling in Shapiro, any defendant who does not

   timely comply with these disclosure requirements will be barred from raising the

   advice of counsel defense or mentioning evidence concerning this defense before the

   jury. Therefore, to provide a specific in-trial illustration, a defense attorney would not

   be permitted to cross-examine a witness with the following question unless the required

   disclosures were made: “You’re aware that my client spoke to his lawyer about these

   very activities and obtained legal advice, aren’t you?”




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          Each defendant who wishes to use advice of counsel evidence or argument will
   need to timely produce all written communications with the attorneys on the subject at
   issue, including those communications which, in whole or in part, raise the prospect
   that the conduct is or might be unlawful. See Immuno Vital v. Telemundo, 203 F.R.D. 561,
   564 (S.D. Fla. 2001) (“[C]ourts have been careful not to allow parties to introduce
   evidence of attorney-client communications favorable to the advice of counsel defense,
   while asserting the privilege with respect to communications that may be unfavorable
   to the defense.”). Judge Altonaga cited to Immuno Vital in Shapiro for the proposition
   that “[a] defendant who asserts an advice-of-counsel defense waives the attorney-client
   privilege with respect to communications with counsel concerning the subject matter of
   that advice.” United States v. Shapiro, U.S. District Court for the Southern District of
   Florida, Case No. 19-CR-20178, ECF No. 108, p. 2, July 8, 2019 (internal citation omitted).
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         Concerning the reciprocal discovery issue, Defendants shall provide the

   reciprocal discovery by December 13, 2019.

         DONE AND ORDERED in Chambers, in Miami, Florida, on November 27, 2019.




   Copies furnished to:
   The Honorable Cecilia M. Altonaga
   All counsel of record




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